@&A0245B              Case
              (Rev. 06/05)     9:08-cr-00041-DWM
                           Judgment in a Criminal Case       Document 59 Filed 03/27/09 Page 1 of 6


                                      UNITEDSTATESDISTRICTCOURT
               MISSOULA DIVISION                                 District of                              MOlypd&
                                                                                                                      MAR 2 7 2009
                                                                                                                          t.DUFFY, CLERK
         UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMIW
                                                                                           CASE
                            v.                                                                              - m
         WILLIAM DALE NEWHOFF, JR.                                       Case Number:                    CR 08-4 1-M-DWM
                                                                         USM Number:                     10396-046

                                                                         Morgan Modine (appointed)
                                                                         Defendant's Anomey
THE DEFENDANT:
0 pleaded guilty to count(s)
0 pleaded nolo contendere to count(s)
  which was accepted by the court.
X was found guilty on count(s)        I and I1
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                       Offense Ended              Count
18 USC 922(g)(1)                 Felon in Possession of a Firearm                                        July 6,2007                  I
18 USC 9226)                     Possession of a Stolen Firearm                                          July 6,2007                 I1




       The defendant is sentenced as provided in pages 2 through                 6      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                is         are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district                    change of name, residence,
or mailing address unti!all fmes, restitution, costs, and special assessments imposed by this                          ordered to pay restitution,
the defendant must notlfy the court and United States attorney of matenal changes m




                                                                                               Chief United States District Judge


                                                                          March 2
                                                                          Date
    A 0 245B   (Rev. 06/05)Case   9:08-cr-00041-DWM
                            Judgment in Criminal Case            Document 59 Filed 03/27/09 Page 2 of 6
               Sheet 2 - Imprisonment
                                                                                                        Judgment - Page        2   of   6
    DEFENDANT:                  WILLIAM DALE NEWHOFF
    CASE NUMBER:                CR 08-41-M-DWM


                                                               IMPRISONMENT

                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:

     78 months on each count, concurrent to one another, and consecutive to the undischarged sentence in Montana district court,
     DC 01-335. The Court recommends that the Defendant be allowed to participate in the 500-hour drug treatment program.


               The court makes the following recommendations to the Bureau of Prisons:




           X The defendant is remanded to the custody of the United States Marshal.

               The defendant shall surrender to the United States Marshal for this district:
                     a                                  a.m.          p.m.       on
                     as notified by the United States Marshal.

               The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                     before 2 p.m.
                     as notified by the United States Marshal.
                     as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
     I have executed this judgment as follows:




               Defendant delivered                                                         to

1    at                                               , with a certified copy of this judgment.


1                                                                                                    UNITED STATES MARSHAL


                                                                             BY
                                                                                                  DEPUTY UNITED STATES MARSHAL
    A 0 245B      (Rev. 06/05) Judgment in a Criminal Case
                  Sheet 3 - Supervised Release
                            Case 9:08-cr-00041-DWM Document 59 Filed 03/27/09 Page 3 of 6
                                                                                                                 Judgment-Page       3     of       6
    DEFENDANT:                     WILLIAM DALE NEWHOFF
    CASE NUMBER:                   CR 08-4 1-M-DWM
                                                              SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of :

     Three years on each count, to run concurrently.



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
     custody of the Bureau of Pnsons.
     The defendant shall not commit another federal, state or local crime.

     The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
     substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
     thereafter, as deterrmned by the court.
     I3     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable.)
     X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
     X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
     I3     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
            student, as directed by the probation officer. (Check, if applicable.)
            The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule ofl~aymentssheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
     on the attached page.
                                                        STANDARD CONDITIONS OF SUPERVISION
               the defendant shall not leave the judicial district without the permission of the court or probation officer;
               the defendant shall report to the probation oficer and shall submit a truthful and complete written report within the first five days of
               each month;
               the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
               the defendant shall support his or her dependents and meet other family responsibilities;
               the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
               acceptable reasons;
               the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
               the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or a e n i s t e r any
               controlled substance or any paraphernalia related to any controlled substances, except as prescnbed by a physician;
               the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
               the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
               felony, unless granted permission to do so by the proiation officer;
               the defendant shall p e p i t a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of my
               contraband observed m plarn view of the probation officer;
               the defendant shall notify the probation officer w i h n seventy-two hours of being arrested or questioned by a law enforcement officer;
               the defendant shall not enter into any agreement to act as an Informer or a special agent of a law enforcement agency without the
               permission of the court; and

      13)      as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
               record or ,persona7 hstory or characteristics and shall pennit the probation officer to make such notifications and to c o n f m the
I              defendant s compliance with such notification requirement.
A 0 245B   (Rev. 06/05) Judgment in a Criminal Case
                    Case
           Sheet 3C -        9:08-cr-00041-DWM
                       supervised Release             Document 59 Filed 03/27/09 Page 4 of 6
                                                                                   Judgment-Page   4   of      6
DEFENDANT:             WILLIAM DALE NEWHOFF
CASENUMBER:            CR08-41-M-DWM

                                   SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall participate in substance abuse testing, to include not more than 250 urinalysis tests and
     not more than 250 breathalyzer tests annually during the period of supervision. The defendant is to pay all
     or part of the costs of testing as determined by the United States Probation Officer.
2. The defendant shall participate in and complete a program of substance abuse treatment as approved by the
   United States Probation Office, until the defendant is released from the rogram by the probation officer. The
                                                                            B
   defendant is to pay part or all of the cost of this treatment, as determine by the United States Probation
   Officer.
3. The defendant shall submit his person, residence, place of employment, or vehicle, to a search, conducted by a
   United States Probation Officer, based on reasonable suspicion of contraband or evidence in violation of a
   condition of release. Failure to submit to search may be grounds for revocation. The defendant shall warn any
   other residents that the premises may be subject to searches pursuant to the condition.
4.   The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol
     is the primary item of sale. This condition supersedes standard condition number 7 with respect to alcohol
     consumption only.
5. The defendant is required to notify the United States Probation Officer ten (10) days prior to change of address.
6 . The defendant shall not possess any police radio scanning devices or possess any computer hardware or
    software that would enable the defendant to monitor law enforcement activity.
7. The defendant shall complete 100 hours of community service work, at a rate of not less than 10 hours per
   month as directed by the probation office. The Defendant must furnish written proof of hours of service
   performed signed by the responsible official of the entity for which the service is performed.
A 0 245B   (Rev. 06/05)Judgment in a Criminal Case
                      CaseMonetary
           Sheet 5 - Criminal 9:08-cr-00041-DWM
                                        Penalties           Document 59 Filed 03/27/09 Page 5 of 6
                                                                                                   Judgment - Page       5     of        6
DEFENDANT:                       WILLIAM DALE NEWHOFF
CASE NUMBER:                     CR 08-41-M-DWM
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                                                           Restitution
 TOTALS           $ 200.00                                                                             $



     The determination of restitution is deferred until          . An Amended Judgment in a Criminal Case (A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                                                                                                   rtioned payment, unless specified otherwise in
     If the defendant makes a partial payment, each pa ee shall receive an approximate1
     the priority order or percentage payment column &low. However, pursuant to 18
     before the United States is p a d
                                                                                           VroS 3664(i),
                                                                                                . ~ ~all nonfederal victims must be paid
 Name of Payee                                Total Loss*                    Restitution Ordered                     Priority or Percentage




 TOTALS


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           the interest requirement is waived for the          fine        restitution.

           the interest requirement for the          fine        restitution is modified as follows:



 * Findings for the total amount of losses are required under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
A 0 245B   (Rev. 06/05)Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                     Case 9:08-cr-00041-DWM Document 59 Filed 03/27/09 Page 6 of 6
                                                                                                        Judgment - Page     6      of        6
DEFENDANT:                  WILLIAM DALE NEWHOFF
CASE NUMBER:                CR 08-4 1-M-DWM

                                                     SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     X Lump sum payment of $             200.00             due immediately, balance due

                 not later than                                 ,   Or
                 in accordance               C,       D,            E, or        F below; or

B          Payment to begin immediately (may be combined with               C,          D, or       F below); or

C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or
D          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from mprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                  (e.gi, 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     X Special instructions regarding the payment of criminal monetary penalties:
        If the Defendant is unable to pay the special assessment in full on the date of sentencing, he may satis@ any
        outstanding balance at the rate of not less than $25.00per quarter, and payment shall be through the Bureau
        of Prisons' Inmate Financial Responsibility Program. Criminal monetary payments shall be made to the
        Clerk, United States District Court,P.O. Box 8537,Missoula, M T 59807.

Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment,                  riminal monetary penalties is due durin
imprisoqnent. All c h a r m o n e t a penalties, except those payments made througf?%?~%kl                 Bureau of Pnsons' Inmate ~inanciak
Responsibility Program, are made to x e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                      1
Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine mterest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.
